









Dismissed and Memorandum Opinion filed April 27, 2006









Dismissed and Memorandum Opinion filed April 27, 2006.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-06-00267-CR

____________

&nbsp;

TROY RAY TRAWEEK,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
178th District Court

Harris County, Texas

Trial Court Cause No. 1042138

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant entered a guilty plea to aggravated assault with a
deadly weapon.&nbsp; In accordance with the
terms of a plea bargain agreement with the State, the trial court sentenced
appellant on March 3, 2006,&nbsp; to
confinement for four years in the Institutional Division of the Texas
Department of Criminal Justice.&nbsp;
Appellant filed a pro se notice of appeal.&nbsp; We dismiss the appeal.&nbsp; 








The trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp; The trial court=s certification is included in the
record on appeal.&nbsp; See Tex. R. App. P. 25.2(d).&nbsp; The record supports the trial court=s certification.&nbsp; See Dears v. State, 154 S.W.3d 610,
615 (Tex. Crim. App. 2005).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed April 27, 2006.

Panel consists of Justices Hudson,
Fowler, and Seymore.

Do Not Publish C Tex. R. App. P. 47.2(b).





